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12
   Attorneys for Defendant
13 Philips Electronics North America Corporation

14

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16
                                   UNITED STATES DISTRICT COURT
17
                                  NORTHERN DISTRICT OF CALIFORNIA
18

19 IN RE: Cathode Ray Tube (CRT) Antirust          )   No. 07-5944-SC
   Litigation                                      )
20                                                 )   STIPULATION RE ATTORNEY
                                                   )   OF RECORD INFORMATION
21                                                 )
                                                   )
22                                                 )
                                                   )
23 This Relates to All Actions.                    )
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             STIPULATION RE ATTORNEY OF RECORD INFORMATION-NO. 07-5944-SC; MDL No. 1917
           Case 3:07-cv-05944-JST Document 209 Filed 04/01/08 Page 2 of 15



           WHEREAS David M. Lisi, a member of Howrey LLP, filed a notice of appearance as counsel
 1

 2 for Defendant Philips Electronics North America Corporation (“PENAC”) in the above captioned case

 3 on March 21, 2008;

 4         WHEREAS the docket currently lists Gregory Hull of Weil, Gotshal & Manges LLP as the
 5 attorney of record for Defendant PENAC;

 6
          WHEREAS Weil, Gotshal & Manges LLP does not now and has not ever represented PENAC
 7
   or any other Philips entity in the above captioned matter;
 8
          WHEREAS Alan Feigenbaum, Steven A. Reiss and David L. Yohai of Weil, Gotshal &
 9

10 Manges LLP are listed as counsel for various plaintiffs;

11         WHEREAS the above three attorneys do not represent any of the plaintiffs, but in fact represent
12 Defendant Panasonic Corporation of North America (“PNA”).

13
           PURSUANT TO LOCAL RULE 7-12, DEFENDANT PNA AND DEFENDANT PENAC, BY
14
     AND THROUGH THEIR RESPECTIVE COUNSEL OF RECORD, HEREBY STIPUALATE AS
15
     FOLLOWS:
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           1.       The docket should be amended to reflect that Howrey LLP, not Weil, Gosthal &
17

18 Manges LLP, represents PENAC; and

19         2.       The docket should be amended to reflect that Weil, Gotshal & Manges LLP are counsel
20 for Defendant PNA and not for any Plaintiffs.

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                STIPULATION RE ATTORNEY OF RECORD INFORMATION-NO. 07-5944-SC; MDL No. 1917
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 2

 3                 IT IS SO STIPULATED.

 4

 5

 6 DATED: March 21, 2008                              By: /s/ David M. Lisi
                                                      DAVID M. LISI (SBN 154926)
 7                                                    Email: lisid@howrey.com
                                                      HOWREY LLP
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 9                                                    Telephone: (650) 798-3530
                                                      Facsimile: (650) 798-3600
10                                                    Attorney for Defendant
                                                       Philips Electronics North America Corporation
11

12
     DATED: March 21, 2008                            By: /s/ Alan Fiegenbaum
13                                                    Alan Feigenbaum (pro hac vice)
14                                                    WEIL, GOTSHAL & MANGES LLP
                                                      767 Fifth Avenue
15                                                    New York, New York 10153
16                                                    Alan.Feigenbaum@weil.com
                                                      Telephone: (212)310-8275
17                                                    Facsimile: (212) 310- 8007
18                                                    Attorney for Defendant
                                                       Panasonic Corporation of North America
19

20 S O O R D E R E D:

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